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                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                            Criminal No. 07-cr-22-01-JD

David Couture


                                  O R D E R


      The assented to motion to reschedule jury trial (document no.

21) filed by defendant is granted.            Trial is also continued as to

co-defendant Brandon Prewara unless an objection is filed on or

before June 27, 2007.

      Defendants shall file waivers of speedy trial rights within 10

days.    The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendants in a speedy trial, 18 U.S.C. § 3131(h)(8)(B)(iv), for

the reasons set forth in the motion.

      SO ORDERED.



                                          /s/ Joseph A. DiClerico, Jr.
                                          Joseph A. DiClerico, Jr.
                                          United States District Judge

Date:    June 25, 2007


cc:   Jaye Rancourt, Esq.
      Patrick Richard, Esq.
      U.S. Marshal
      U.S. Probation
      Robert Veiga, Esq.
